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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


In re: Oil Spill by the Oil Rig            *                MDL No. 2179
“Deepwater Horizon” in the Gulf            *
of Mexico, on April 20, 2010               *                SECTION “J”
                                           *                JUDGE BARBIER
This Document Relates to:                  *
All cases in Pleading Bundles B1 and B3;   *
10-2771; 10-3815; 10-1540; 10-1502         *                MAGISTRATE NO. 1
                                           *                MAGISTRATE SHUSHAN
* * * * * * * * * *                      * *


                                 NOTICE OF SUBMISSION


TO:    Counsel


       PLEASE TAKE NOTICE that subject to Pre-trial Orders Nos. 11 and 25, in which the

Court directed that the Court will set the date of all hearings on Motions in this case, the Joint

Motion of Defendants Anadarko Petroleum Corporation, Anadarko E&P Company LP, and

MOEX Offshore 2007 LLC to Compel Response to Production Requests Served Upon BP

Exploration & Production, Inc., BP America Production Company, and BP p.l.c., Pursuant to

Fed. R. Civ. P. 37, is tentatively noticed for submission on Wednesday, May 18, 2011, at 9:30

a.m.

                                             Respectfully submitted,

       DATED: April 15, 2011                 BINGHAM McCUTCHEN, LLP


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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, pursuant to Pre-trial Order No. 12, I have caused the

foregoing to be served on all counsel via the Lexis Nexis File & Serve system, and that the

foregoing was electronically filed with the Clerk of Court of the United States District Court for

the Eastern District of Louisiana by using the CM/ECF system, who will send a notice of

electronic filing in accordance with the procedures established in MDL 2179, on April 15, 2011.



                                             ____________/s/ Ky E. Kirby__________________
                                                           Ky E. Kirby




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